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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------X
ROBERT MCANDREWS,
                                    Plaintiff,                          19 CIVIL 9780 (PAE) (SLC)

                 -v-                                                         JUDGMENT
COMMISSIONER OF SOCIAL SECURITY,
                                    Defendant.
-----------------------------------------------------------X

        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Stipulation and Order dated October 15, 2020, that the decision of the

Commissioner of Social Security be, and hereby is, reversed and that this action be, and hereby is,

remanded to the Commissioner of Social Security, pursuant to sentence four of 42 U.S.C. § 405(g),

for further administrative proceedings, including offering plaintiff the opportunity for a new

hearing and de novo decision in accordance with the Commissioner’s rules and regulations.


Dated: New York, New York
       October 16, 2020

                                                                         RUBY J. KRAJICK
                                                                     _________________________
                                                                           Clerk of Court
                                                               BY:
                                                                     _________________________
                                                                           Deputy Clerk
